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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


UNITED STATES OF AMERICA                     :

                      Plaintiff              :       Case No. 3:19-cr-137 (6)

                     vs.                      :      HONORABLE WALTER H. RICE
Allen, Lajuan                                :

                      Defendant              :


                      ORDER AMENDING BOND CONDITIONS


For good cause shown, the Court hereby amends the bond conditions filed in this matter on
March 23, 2020 and amends the following condition:


       1. Participate in a location restriction program and abide by all requirements of the
          program (home incarceration).


The amended condition will be ordered as follows:


       1. Participate in a location restriction program and abide by all requirements of the
          program (curfew).




All other bond conditions remain in full force and effect.




                                                                            (tp - per Judge Rice authorization after his
        09-17-2020
Date:_______________                         ____________________________________
                                                                       review)
                                             HONORABLE WALTER H. RICE
                                             UNITED STATES DISTRICT COURT JUDGE
